           Case 2:99-cr-00433-WBS Document 800 Filed 10/18/06 Page 1 of 2


1    McGREGOR W. SCOTT
     United States Attorney
2    WILLIAM S. WONG
     JASON HITT
3    Assistant U.S. Attorneys
     501 I Street, Ste 10-100
4    Sacramento, CA 95814
     Telephone (916) 554-2790
5
6
7
8                      IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        )
                                     ) CR. NO. S-99-433-WBS
12                  Plaintiff,       )
               v.                    )
13                                   ) STIPULATION AND ORDER
                                     )
14   JOHN THAT LUONG, et al.,        ) DATE: December 20, 2006
                                     ) TIME: 10:00 a.m.
15                  Defendant.       ) CTRM: Honorable William B. Shubb
     _______________________________ )
16
17         The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong and Jason Hitt, Assistant United
20   States Attorneys; defendant John That Luong, through his counsel,
21   Richard Mazer, Esq., stipulate and agree to the following revised
22   motion schedule regarding John That Luong’s Motion for
23   Reconsideration of His Motion to Dismiss the Indictment currently
24   set for October 25, 2006 at 9:00 a.m.:
25         1.   Government’s opposition shall be filed no later than
                November 24, 2006;
26
           2.   Defendants’ reply, if any, shall be filed no later
27              than December 6, 2006; and
28   ///

                                           1
          Case 2:99-cr-00433-WBS Document 800 Filed 10/18/06 Page 2 of 2


1         3.     Hearing on the motion set for December 20, 2006,
                 at 10:00 a.m.
2
3         Counsel for the government needs additional time to research
4    and prepare its responses to the defendant’s motion.         Counsel for
5    the government has just completed a lengthy trial in the case of
6    United States v. Huy Chi Luong, et al., CR-S-96-0350 WBS.
7    Accordingly, the parties stipulate that time be excluded for the
8    pendency of this motion pursuant to 18 U.S.C. § 3161(h)(1)(F) -
9    delay resulting from any pretrial motion and 18 U.S.C. §
10   3161(h)(8)(B)(ii) - additional time to adequately prepare for
11   pretrial proceedings.
12                                            Respectfully submitted,
13                                            McGREGOR W. SCOTT
                                              United States Attorney
14
15   DATED: October 13, 2006            By:/s/ William S. Wong
                                           WILLIAM S. WONG
16                                         Assistant U.S. Attorney
17
     DATED: October 13, 2006            By: /s/ Richard Mazer
18                                          RICHARD MAZER for defendant
                                            John That Luong
19
     _____________________________________________
20
                                       ORDER
21
          For the reasons set forth above, the revised law and motion
22
     schedule is adopted.    Furthermore, time is excluded for the reasons
23
     set forth above.
24
     DATED:    October 16, 2006
25
26
27
28

                                          2
